829 F.2d 35Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John A. FRANK, Petitioner-Appellant,v.Samuel GARRISON; Attorney General of the State of NorthCarolina, Respondent-Appellee.
    No. 87-6011
    United States Court of Appeals, Fourth Circuit.
    Submitted July 31, 1987.Decided August 25, 1987.
    
      John A. Frank, appellant pro se.
      Richard Norwood League, Office of the Attorney General, for appellees.
      Before DONALD RUSSELL and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion adopting the magistrate's recommendation discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  We deny Frank's motion for appointment of counsel.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Frank v. Garrison, C/A No. 83-81-HC (E.D.N.C., Jan. 22, 1987).
    
    
      2
      DISMISSED.
    
    